     Case 2:18-cv-06338-PSG-GJS Document 17 Filed 09/11/18 Page 1 of 1 Page ID #:52
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                                      UNITED STATES DISTRICT COURT .
                                     CENTRAL DISTRICT OF CALIFORNIA               ,Document#
                                                              CASE NUMBER:
RAFAEL AROYO,JR.
                                                Plaintiffs)                  CV18-6338 PSG(GJSx)
                                v.
                                                                   ADA DISABILITY ACCESS LITIGATION:
                                                                     [PR(~AS~ORDER GRANTING
A & G Interprises, LLG et al.
                                                                         APPLICATION FOR STAY
                                              Defendants)                AND EARLY MEDIATION

The Court has considered the recently filed Application for Stay and Early Mediation, and hereby ORDERS:

1.    This action is STAYED as to Carmen Rosas
      for a period of ninety(90) days from the date of the filing of this Order, unless otherwise ordered by the
      Court.
2.    This case is referred to:

             ADR PROCEDURE NO. 1: Magistrate Judge assigned to the case for such settlement proceedings
             as the judge may conduct or direct.
             ADR PROCEDURE NO.2: This case is referred to the ADR Program. Within twenty-one (21)
             days, plaintiff shall obtain the consent of a Mediator listed on the Court's Mediation Panel who will
             conduct the mediation; and file form ADR-2,Stipulation Regarding Selection of Mediator. If the
             parties have not selected and obtained the consent of a Panel Mediator within twenty-one (21) days,
             the ADR Program (213-894-2993) will assign one. Forms and a list of the Panel Mediators are
             available on the Court's website, www.cacd.uscourts.gov. Absent extraordinary circumstances,
             parties cannot request a continuance within three (3) business days of a scheduled mediation.
             The ADR proceeding is to be completed no later than:      ~~tpyj~ ~ p ~Q/~

3.    Within fourteen (14) days of the date of this Order, Plaintiff shall file with the Court and serve on
      Defendants) a statement ("Plaintiff's Case Statement") that includes the following:
      a. An itemized list of specific conditions on the subject premises that are the basis of the claimed
         violations of the ADA;and
      b. An itemized list of damages and,for each item, the amount sought.
4.    If Defendant claims to have remedied any or all of the violations) identified by Plaintiff, or asserts that no
      violation exists, that Defendant shall file with the Court and serve on Plaintiff evidence showing the
      correction or absence of violations) at least ten (10) days before the date set for the early mediation.
5.    The parties shall file with the Court a Joint Status Report no later than seven (7) days after the ADR
      proceeding is completed advising the Court of the status of the alle ed ADS violations and their
      mediation efforts.                                                         /~


Date:           S o
                                                              U          District Judge
cc: ADR Program Director

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